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                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION

   UNITED STATES OF AMERICA                                           PLAINTIFF
   v.               Civil No. 06-50054-001 and 002

   BAUDILIO CASTILLO and DONIS CASTILLO                              DEFENDANTS

                                     O R D E R

         Now on this 9th day of January, 2007, comes on for

   consideration the Magistrate Judge's Report and Recommendation

   (document #78, filed December 14, 2006), in this matter, to

   which no objections have been filed, and the Court, having

   carefully reviewed said Report and Recommendation, finds that it

   is sound in all respects, and that it should be adopted in toto.

         IT IS THEREFORE ORDERED that the Magistrate Judge's Report

   and Recommendation is adopted in toto.

         IT IS FURTHER ORDERED that, for the reasons stated in the

   Magistrate Judge's Report and Recommendation,            Mr. William Blair

   Brady will be allowed to represent the above defendants,

   Baudillo Castillo and Donis Castillo, in this case.

         IT IS SO ORDERED.



                                             /s/Jimm Larry Hendren
                                             HON. JIMM LARRY HENDREN
                                             UNITED STATES DISTRICT JUDGE
